  Case 5:07-cr-00017-DCB-FKB   Document 387   Filed 10/30/13   Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          WESTERN DIVISION


UNITED STATES OF AMERICA

                                    CIVIL ACTION NO. 5:10-cv-13(DCB)
                                        CRIMINAL NO. 5:07-cr-17(DCB)

CHARLES EDWARD PRICE                                             DEFENDANT


                                 ORDER

     This cause is before the Court on the defendant Charles Edward

Price’s Motion for Reconsideration (docket entry 385) of this

Court’s Order (docket entry 384) denying his Rule 60(d) Motion for

Relief from Judgment (in which the defendant challenged dismissal

of his § 2255 motion to vacate).     Having carefully considered the

defendant’s motion, the Court finds no grounds for reconsideration

and no basis for relief from this Court’s Order.          Accordingly,

     IT IS HEREBY ORDERED that the defendant Charles Edward Price’s

Motion for Reconsideration (docket entry 385) is DENIED.

     SO ORDERED, this the 30th day of October, 2013.



                                         /s/ David Bramlette
                                         UNITED STATES DISTRICT JUDGE
